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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                      Docket No.: 1:23-cv-10026-FDS


 ROBERT P. CONLON and BETSY CONLON,
 as the Personal Representative of the ESTATE
 OF MICHAEL CONLON,

        Plaintiffs,

        v.

 NEWTON POLICE OFFICER FRANCIS
 SCALTRETO, NEWTON POLICE OFFICER
 RICHARD BENES, NEWTON POLICE
 SERGEANT GLENN CHISHOLM, NEWTON
 POLICE CAPTAIN DENNIS DOWLING,
 NEWTON POLICE CAPTAIN CHRISTOPHER
 MARZILLI, and THE CITY OF NEWTON,

          Defendants


DEFENDANT CITY OF NEWTON’S MEMORANDUM OF LAW IN SUPPORT OF ITS
          MOTION TO DISMISS UNDER FED. R. CIV. P. 12(b)(6)

                                        INTRODUCTION

       This case stems from an encounter between City of Newton police officers and Michael

Conlon that ended tragically. Officers were forced to use deadly force when Conlon charged at

an officer while wielding a knife. Conlon’s parents, Robert and Betsy Conlon (Plaintiffs), have

filed a lawsuit against the City of Newton and five police officers. Against the City, their

Complaint contains the following counts: (4) 42 U.S.C. §1983 – Negligent Training and

Supervision; (5) 42 U.S.C. §1983 – Unconstitutional Failure to Provide Mental Health Treatment

in Violation of the Fourteenth Amendment’s Right to Due Process; (6) Americans With




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Disabilities Act (ADA) – Failure to Accommodate Michael’s Disability Under the ADA; (7)

Americans With Disabilities Act (ADA) – Failure to Train; and (8) Rehabilitation Act.

       But all of these counts fail to state claims against the City because the officers acted

reasonably under the circumstances and there have been no similar incidents to support

municipality liability. As a result, as addressed below, all claims against the City should be

dismissed.

                     FACTUAL ALLEGATIONS IN THE COMPLAINT

       On January 5, 2021, at approximately 1:43 p.m., NPD Officer Zachary Raymond was

dispatched to respond to a reported armed robbery at 16 Lincoln Street in Newton Highlands.

Complaint ¶ 43. Within approximately one minute, Officer Raymond arrived at Indulge!, a candy

store located at that address. Complaint ¶ 44. On arrival, Officer Raymond observed Conlon

standing outside the store and holding a steak knife. Complaint ¶ 45.

       Officer Raymond drew his service weapon and ordered Conlon to drop the knife.

Complaint ¶ 45. But Conlon refused and instead fled into his apartment building at 18 Lincoln

Street. Complaint ¶ 46. Conlon climbed the first two flights of stairs, stopping at the third and

top floor, with Officer Raymond in pursuit. Complaint § 47. While Officer Raymond continued

to approach Conlon and order him to drop the knife, Conlon turned around and placed the knife

to his own throat. Conlon stated that if Officer Raymond came any closer, he would cut his own

throat. Complaint ¶ 48. Conlon was waiving the knife around and used the handle to bang on the

door of Apartment 3, and repeatedly requested to speak with the resident, Danielle Kalfon, who

had opened the back door of the building to allow Newton Police officers entry so they could

confront Conlon. Complaint ¶¶ 7, 49.




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       When Conlon again held the knife to his throat, Officer Raymond retreated down the

stairs to the second-floor landing. Complaint ¶ 50. Meanwhile, Captain Dowling and five other

NPD Officers arrived. Complaint ¶ 51. Captain Dowling, the highest-ranking officer on scene,

and Captain Marzulli determined that Conlon was experiencing a mental health issue. Complaint

¶¶ 52-53. Captain Dowling told other officers, “We have all the time in the world, we'll just wait

it out. We’ll wait him out.” Complaint ¶ 54.

       Officer Scaltreto was the primary officer speaking with Conlon. He was positioned on the

third floor, in the hallway, approximately 12 feet from Conlon. Officer Benes and Sergeant

Chisholm stood in the open doorway to Apartment 4, less than 20 feet from Conlon. Complaint ¶

55. Also present were two Massachusetts State Police Officers standing inside Apartment 4 near

the entry, less than 20 feet from Conlon. Complaint ¶ 55.

       Conlon repeatedly stated that he believed he was in a simulation and questioned whether

the officers present were real police officers. Complaint ¶ 56. Numerous officers, including the

named Defendants, only offered to call Conlon’s father in exchange for him dropping the knife.

Complaint ¶57. Conlon was spitting and drooling as he spoke. Complaint ¶ 58. He did not make

any verbal threats that he would hurt the officers or anyone else but himself. Complaint ¶ 59.

Captain Dowling repeated that “time was on their side,” and said for everyone to calm down.

Complaint ¶¶ 63, 64. Captain Marzilli told the newly arriving officers that Conlon was a “psych

patient” and that the situation was “a mental health issue.” Complaint ¶ 65.




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       While Conlon spoke with the officers, Captain Dowling said that the plan was to wait for

the NEMLEC tactical team1 and negotiator to arrive before making any attempt to apprehend

Conlon. Complaint ¶¶ 67, 68.

       While Officer Scaltreto and others were speaking with Conlon, Captain Marzilli

instructed Sergeant Chisholm to retrieve his less-than­lethal beanbag projectile shotgun.

Complaint ¶¶ 70, 42. Captain Dowling instructed Captain Marzilli to wait for NEMLEC, but if

necessary to shoot Conlon with the less-than-lethal beanbag shotgun while using the tasers of the

two state troopers as backup. Complaint ¶ 73. Captain Dowling told Officer Benes that he was

the “lethal option” if the non-lethal measures were ineffective, meaning that Officer Benes would

need to shoot Conlon with his firearm. Complaint ¶ 74.

       Officer Scaltreto was the lead officer negotiating with Conlon for his release of the knife.

Complaint ¶ 77. When speaking with Officer Scaltreto, Conlon was holding the knife in one

hand and a fire extinguisher in the other hand. Complaint ¶ 78. After approximately twenty

minutes of speaking with Conlon, Officer Scaltreto convinced him to drop the knife and fire

extinguisher to the floor. Complaint ¶¶ 80, 81.

       Officer Scaltreto told the officers behind him that Conlon had dropped the knife and that

there was “an opening.” The knife lay on the floor beside him. Complaint ¶ 7. Hearing this,

Captain Marzilli radioed to Captain Dowling that there was an “opening.” Complaint ¶ 82.

Captain Dowling ordered back to Captain Marzilli to have the less-than-lethal fired at Conlon.

Complaint ¶¶ 87, 42.




1
 The Northeastern Massachusetts Law Enforcement Council (NEMLEC) is comprised of
municipal police officers and employs a Regional Response Team (RRT) and Special Weapons
and Tactics (SWAT) group specifically trained in de-escalation and negotiation techniques with
mentally ill, suicidal or barricaded people. Complaint ¶¶ 6, 43.

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       Upon receiving Captain Dowling’s order as relayed by Captain Marzilli, Sergeant

Chisholm raised the less-than-lethal, pointed it at Conlon, and attempted to use it, but it did not

fire. Complaint ¶¶ 90, 92. Sergeant Chisolm attempted to “clear” the less-than-lethal by

discharging a round but was not able to fire the weapon due to operator error and inexperience.

Complaint ¶ 92.

       When the less-than-lethal did not fire, Conlon picked up the knife and ran at Sergeant

Chisholm. Complaint ¶¶ 11, 93. As Conlon approached, Officers Scaltreto and Benes resorted to

fatally shooting Conlon at close range. Complaint ¶¶ 11, 93-94, 96.

       Regarding the City of Newton, the NPD issues General Orders to ensure that all

Department personnel comply with established policies, procedures, and regulations. These

policies include General Order 301 (Use of Force) which allows for officers to use the less-than-

lethal beanbag projectile weapon to prevent suicide, among other situations. Complaint ¶ 42

(a)(i-viii). NPD policies also include General Order 601 (Special Operations) which establishes

procedures for responding to high-risk emergencies, including suicide and emotionally

disturbed/distraught barricaded persons. This involves coordinating with Northeastern

Massachusetts Law Enforcement Council’s (NEMLEC) Regional Response Team (RRT) and

Special Weapons and Tactics (SWAT), who have trained negotiators. Complaint ¶ 42 (a-e). The

NPD had no specific policy in effect, written or unwritten, relating to de-escalation techniques in

response to a person’s mental health crisis. Complaint ¶ 38. The NPD employed a full-time

social worker, Sarah Eknian, to address mental health situations. She responded to the scene but

was not permitted to intervene or speak with the officers who were confronting Conlon.

Complaint ¶¶ 35, 148. By January 5, 2021, American law enforcement “widely accepted”




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standard procedures concerning de-escalation including use of “tactical repositioning,” which

involves the concepts of time, distance, and barriers. Complaint ¶ 39(a-c).

                                  MOTION TO DISMISS STANDARD

        To survive a motion to dismiss under Rule 12(b)(6), a complaint must state a claim that is

plausible on its face. Fraser v. Massachusetts Bay Transportation Auth., 544 F. Supp. 3d 148,

156 (D. Mass. 2021), citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). For a claim

to be plausible, the “[f]actual allegations must be enough to raise a right to relief above the

speculative level ....” Id. at 555. “The plausibility standard is not akin to a ‘probability

requirement,’ but it asks for more than a sheer possibility that a defendant has acted unlawfully.”

Ashcroft v. Iqbal, 556 U.S. 662, 678, (2009), quoting Twombly, 550 U.S. at 556. When

determining whether a complaint satisfies that standard, a court must assume the truth of all well-

pleaded facts and give the plaintiff the benefit of all reasonable inferences. See Ruiz v. Bally

Total Fitness Holding Corp., 496 F.3d 1, 5 (1st Cir. 2007). Dismissal is appropriate if the

complaint fails to set forth “factual allegations, either direct or inferential, respecting each

material element necessary to sustain recovery under some actionable legal theory.” Gagliardi v.

Sullivan, 513 F.3d 301, 305 (1st Cir. 2008). Applying this pleading standard to the facts alleged

in the Complaint establishes that the Plaintiffs have failed to state a claim against the City of

Newton.

                                            ARGUMENT

I.      COUNT 4: 42 U.S.C. § 1983 – NEGLIGENT TRAINING AND SUPERVISION
        FAILS TO STATE A CLAIM BECAUSE NEGLIGENCE DOES NOT SUPPORT
        CONSTITUTIONAL CLAIMS AND THERE ARE NO ALLEGATIONS OF
        SIMILAR INCIDENTS TO SUPPORT MONELL LIABILITY.

        This count fails to state a claim because negligent training and supervision does not

support a constitutional violation advanceable under 42 U.S.C. § 1983. See e.g., Daniels v.


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Williams, 474 U.S. 327, 328-31 (1986) (rejecting concept of a negligent act triggering a claim of

a due process violation).

       A municipality also may not be held vicariously liable under § 1983 for the acts of its

employees. Doe v. Lincoln-Sudbury Reg'l Sch. Comm., 2021 WL 3847985, at *12–13 (D. Mass.

Aug. 27, 2021), citing Monell v. New York City Dep't of Soc. Servs., 436 U.S. 658, 692 (1978).

Under Monell and its progeny, however, a municipality may be liable for its failure to train or

supervise its employees when that failure “causes a constitutional violation or injury” and

“amounts to deliberate indifference to the rights of persons with whom the [employees] come

into contact.” Doe v, 2021 WL 3847985, at *12–13, quoting DiRico v. City of Quincy, 404 F.3d

464, 468 (1st Cir. 2005); City of Canton v. Harris, 489 U.S. 378, 388 (1989). A municipality's

culpability for a deprivation of rights is at its most tenuous where a claim turns on a failure to

train. Connick v. Thompson, 563 U.S. 51, 61 (2011).

       To adequately plead a failure-to-train claim or failure to supervise claim, the complaint

must allege, among other things, that “municipal decisionmakers either knew or should have

known that training [or supervision] was inadequate but nonetheless exhibited deliberate

indifference to the unconstitutional effects of those inadequacies.” Gray v. Cummings, 917 F.3d

1, 14 (1st Cir. 2019). To demonstrate deliberate indifference, the complaint must allege a

“pattern of similar constitutional violations by untrained employees.” Id., quoting Connick v.

Thompson, 563 U.S. 51, 62 (2011). Therefore, to assert failure-to-train or failure to supervise

claims, the Complaint must allege that NPD’s failures (1) caused the alleged violation of

Conlon’s Fourth Amendment rights and (2) amounted to deliberate indifference of the rights of

those with whom the NPD officers would come in contact. See DiRico, 404 F.3d at 468.




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        Here, the Complaint fails to state a claim because the officers did not violate Conlon’s

constitution rights, as addressed in the individual defendants’ motion to dismiss. Furthermore,

the Complaint does not contain factual allegations to support that Newton policy makers acted

with “deliberate indifference” in that respect. See Hayden v. Grayson, 134 F.3d 449, 456 (1st

Cir. 1998) (“The liability criteria for ‘failure to train’ claims are exceptionally stringent ....”). The

Complaint does not include factual (non-conclusory) allegations that indicate that any failure to

train or supervise was a “deliberate or conscious choice” by policy makers. Id.

        Critically, the Plaintiffs fail to allege facts to support a “pattern of similar constitutional

violations by untrained employees.” Gray, 917 F.3d at 14 (emphasis added). They also fail to

allege that any of the individually sued police officers had any previous similar incidents or

disciplinary history. Rather, the Complaint only alleges Conlon’s single instance of a claimed

constitutional violation regarding people with mental health issues. See Massachusetts ex rel.

Powell v. Holmes, 546 F. Supp. 3d 58, 71 (D. Mass. 2021) (courts cannot infer the existence of

such a policy or custom from an isolated instance of misconduct).

        And even if Conlon’s constitutional rights were violated, that does not sufficiently allege

or represent a pattern of constitutional violations that would show deliberate indifference by

Newton policy makers because the Complaint contains no allegations about any other past

similar incidents, let alone that any Newton officials were aware of any past incidents. It makes

no allegations that any officials failed to properly train officers to avoid such incidents, or that

they failed to adequately supervise officers in carrying out their duties, or that they provided

grossly inadequate discipline and remediation to officers. See Humphrey v. Comoletti, 2017 WL

1224539, at *9-10 (D. Mass. Mar. 31, 2017) (deliberate indifference cannot be inferred; it must

be shown in the complaint).




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       Rather than establishing that policy makers were “deliberately indifferent,” the

Complaint alleges that the NPD employed a full-time social worker, Sarah Eknian, to respond to

mental health situations. Complaint ¶¶ 35, 148. The Complaint also includes information that the

Newton Police Department issues General Orders to ensure that all Department personnel

comply with established policies, procedures, and regulations. The Use of Force policy governs

appropriate standards for police officers using force and includes the use of less-than-lethal

beanbag projectile weapon, among many other things. The policy of Special Operations

establishes procedures for responding to high-risk emergencies, including suicide and

emotionally disturbed/distraught barricaded persons. This involves partnering with NEMLEC’s

Regional Response Team and SWAT teams and negotiators. Complaint ¶ 42 (a-e).

       The Complaint contains conclusory allegations about appropriate police practices for

interacting with persons with disabilities. But these assertions are insufficient to support a

failure-to-train claim because to survive a motion to dismiss is not enough for the Plaintiff to

allege that the NPD’s training regimen was faulty. The Plaintiffs must also allege facts to support

that the City knew or had reason to believe that such a regimen had unconstitutional effects. The

Plaintiffs have made no allegations of past violations sufficient to put the City on notice of such

effects. Therefore, the Complaint does not allege facts to support an inference that City officials

were deliberately indifferent to the risk of the alleged constitutional violation. Consequently, the

Plaintiffs’ claim regarding the NPD’s training and supervision fails to state a claim. See Gray,

917 F.3d at 14.




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II.    COUNT 5: 42 U.S.C. § 1983 – UNCONSTITUTIONAL FAILURE TO PROVIDE
       MENTAL HEALTH IN VIOLATION OF THE FOURTEENTH AMENDMENT
       RIGHT TO DUE PROCESS FAILS TO STATE A CLAIM BECAUSE CONLON
       WAS NOT INTENTIONALLY DEPRIVED OF MENTAL HEALTH
       TREATMENT AND THERE HAVE BEEN NO OTHER INCIDENTS TO
       SUPPORT MUNICIPALITY LIABILITY.

       This count fails to state a claim against the City because the Complaint does not allege

facts to support an inference (1) that any of the individual officers acted to intentionally deprive

Conlon of mental health treatment and (2) that any such violation was caused by a City policy.

       A.      Allegations in the Complaint do not establish that officers intentionally
               deprived Conlon of mental health treatment.

       The due process clause of the Fourteenth Amendment requires governmental authorities

to provide medical care to persons who have been injured while being apprehended by the

police. Barbosa v. Conlon, 962 F. Supp. 2d 316, 330–31 (D. Mass. 2013), citing Gaudreault v.

Municipality of Salem, 923 F.2d 203, 208 (1st Cir. 1990). “The boundaries of this duty have not

been plotted exactly; however, it is clear that they extend at least as far as the protection that the

Eighth Amendment gives to a convicted prisoner.” Miranda-Rivera v. Toledo-Davila, 813 F.3d

64, 74 (1st Cir. 2016), quoting Gaudreault, 923 F.2d at 208. In order to succeed in pleading a

Fifth or Eighth Amendment claim based on denied or inadequate medical care, a prisoner must

allege facts to satisfy: (1) an objective prong that requires proof of a serious medical need,2 and




2
 As to the objective component, a plaintiff must plead facts, which, if true, show “a serious
medical need for which [the plaintiff] has received inadequate treatment.” Kosilek, 774 F.3d at
85. For purposes of the Eighth Amendment, a medical need is “serious” if it “has been diagnosed
by a physician as mandating treatment, or one that is so obvious that even a lay person would
easily recognize the necessity for a doctor's attention.” Id. at 82, quoting Gaudreault, 923 F.2d at
208. “A significant risk of future harm that prison administrators fail to mitigate may suffice
under the objective prong.” Id. at 85 (citations omitted). The objective prong “does not impose
upon prison administrators a duty to provide care that is ideal, or of the prisoner's choosing.” Id.
at 82.


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(2) a subjective prong that mandates a showing of prison administrators’ deliberate indifference

to that need. See Spencer v City of Bos., 2015 WL 6870044, at *7 (D. Mass. Nov. 6, 2015),

citing Kosilek v. Spencer, 774 F.3d 63, 82 (1st Cir. 2014).

       Here, the Complaint fails to allege facts to satisfy the subjective component. This

requires the Plaintiff to plead factual allegations supporting an inference of “deliberate

indifference” by the officers. Kosilek, 774 F.3d at 83. Deliberate indifference refers to “a narrow

band of conduct[.]” Id., quoting Feeney v. Corr. Med. Servs., Inc., 464 F.3d 158, 162 (1st Cir.

2006). Demonstrating deliberate indifference requires allegations supporting a conclusion “that

the absence or inadequacy of treatment is intentional” rather than simply inadvertent. Perry, 782

F.3d at 78. The obvious case of deliberate indifference would be a denial of needed medical

treatment in order to punish the inmate. Kosilek, 774 F.3d at 83, citing Watson v. Caton, 984

F.2d 537, 540 (1st Cir. 1993). Deliberate indifference may also reside in wanton decisions to

deny or delay care where the action is recklessness, not in the tort law sense but in the

appreciably stricter criminal-law sense, requiring actual knowledge of impending harm, easily

preventable. Watson, 984 F.2d at 540. The Complaint does not allege facts to support an

inference that any of the individual officers acted with deliberate indifference to intentionally to

deprive Conlon of medical treatment, including for reasons to punish him. Rather, the Plaintiffs

allege that Captain Dowling and Sergeant Chisholm acted on “an opening” after Conlon dropped

the knife at his feet. They acted to get Conlon secured so that he did not hurt himself or others.

As a result, the allegations fail to establish “deliberate indifference” by any of the officers.

       B.      Allegations in the Complaint do not establish any violation was caused by a
               City policy and there have been no similar incidents.

       As addressed above, a municipality can only be held liable for alleged constitutional

deprivations that arise from a governmental policy or practice. Smith v. City of Holyoke, 2020


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WL 1514610, at *11 (D. Mass. Mar. 30, 2020). For such a claim, in addition to establishing a

constitutional deprivation, a plaintiff must show that (1) the municipality had a custom, policy,

or practice of failing to investigate, discipline, supervise, or train its officers; (2) this custom,

policy, or practice was such that it demonstrated a “deliberate indifference” to the rights of those

citizens with whom its officers came into contact; and (3) the custom, policy, or practice was the

direct cause of the alleged constitutional violation. Smith, 2020 WL 1514610, at *11, citing

DiRico v. City of Quincy, 404 F.3d 464, 468-69 (1st Cir. 2005); see also City of Canton v.

Harris, 489 U.S. 378, 388-89 (1989); Monell, 436 U.S. at 690-92.

        Here, the Complaint does not allege facts to support any of these elements. The Plaintiffs

do not allege any similar incidents related to the intentional denial of mental health care. This

vitiates their claim because the existence of a municipal policy cannot be inferred from an

alleged isolated and single act of misconduct by city employees; to do so would amount to

permitting precisely the theory of strict liability rejected in Monell. See Canton, 489 U.S. at 399–

400, citing City of Oklahoma City v. Tuttle, 471 U.S. 808, 823-24, 831 (1985) (a single act by a

police officer cannot by itself establish proof of a “policy” of inadequate training for municipal

liability); see also Doe v. Town of Wayland, 179 F. Supp. 3d 155, 172 (D. Mass. 2016).

Accordingly, this count fails to state a claim and should be dismissed.

III.    COUNT 6: AMERICANS WITH DISABILITIES ACT (ADA) – FAILURE TO
        ACCOMMODATE CONLON’S DISABILITY UNDER THE ADA; COUNT 7:
        AMERICANS WITH DISABILITIES ACT (ADA) – FAILURE TO TRAIN; AND
        COUNT 8: REHABILITATION ACT FAIL TO STATE CLAIMS.

        A.      ADA and Rehabilitation Act claims are addressed together.

        The analysis for Counts 6, 7 and 8 are combined because as a general matter, Title II of

the ADA “is to be interpreted consistently with” section 504 of the Rehabilitation Act, which




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prohibits disability discrimination by entities receiving federal financial assistance. Gray, 917

F.3d at 17 n.11, citing Theriault v. Flynn, 162 F.3d 46, 48 n.3 (1st Cir. 1998).

       B.      It is not decided whether or how the ADA applies to on-the-street police
               encounters.

       Whether or not the ADA applies at the point of seizures or on the scene police encounters

are “murky waters” that the First Circuit has been “reluctant to plunge headlong into.” Gray, 917

F.3d at 16. As the First Circuit has explained when previously addressing these issues, some

background is helpful. Id. Congress enacted the ADA “to provide a clear and comprehensive

national mandate for the elimination of discrimination against individuals with disabilities.” 42

U.S.C. § 12101(b)(1). Title I proscribes disability-related discrimination in employment, see Id.

§ 12112, and Title III proscribes disability-related discrimination in the provision of public

accommodations (such as hotels, restaurants, and theaters), see Id. §§ 12182, 12184. These titles

are not implicated by the present case. See Gray, 917 F.3d at 14-15.

       Title II broadly provides that “no qualified individual with a disability shall, by reason of

such disability, be excluded from participation in or be denied the benefits of the services,

programs, or activities of a public entity, or be subjected to discrimination by any such entity.”

Id. § 12132.

       The Plaintiffs’ ADA claim against the City is brought under this Title. To establish a

violation of Title II, the Plaintiffs must allege facts to show: (1) that Conlon was a qualified

individual with a disability; (2) that he was either excluded from participation in or denied the

benefits of some public entity's services, programs, or activities or was otherwise discriminated

against; and (3) that such exclusion, denial of benefits, or discrimination was by reason of his

disability. Gray, 917 F.3d at 14–15, citing Buchanan v. Maine, 469 F.3d 158, 170-71 (1st Cir.




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2006).3 The focal point of the inquiry is whether, during Conlon’s encounter with the NPD

officers, he was denied the benefits of the City’s services, programs, or activities or was

otherwise discriminated against by reason of his disability. Gray, 917 F.3d at 15, citing

Buchanan, 469 F.3d at 170-71.

       The Plaintiffs allege that the Defendants failed to provide reasonable accommodations for

Conlon. This theory appears to hold that a violation may be found when police officers “properly

investigated and arrested a person with a disability for a crime unrelated to that disability, [but]

they failed to reasonably accommodate the person's disability in the course of investigation or

arrest, causing the person to suffer greater injury or indignity in that process than other

arrestees.” Gray, 917 F.3d at 15. The Gray court identified three questions in this analysis: (1)

Does Title II apply to ad hoc police encounters with members of the public during investigations

and arrests, and if so, to what extent?; (2) Assuming that Title II applies to police encounters,

may a public entity be held liable under Title II for a line employee's actions on a theory of

respondeat superior?; and, (3) Is proof of a defendant's deliberate indifference (as opposed to

discriminatory animus) sufficient to support a plaintiff's claim for damages under Title II? Id. at

16. The First Circuit, however, specifically declined to decide any of these questions. The court

found it unnecessary when finding summary judgment for the municipality in a situation where

an officer used a taser on a woman suffering from known mental health issues. Id. at 18.



3
  A “qualified individual with a disability” is an individual with a disability who, with or without
reasonable modifications to rules, policies, or practices, the removal of architectural,
communication, or transportation barriers, or the provision of auxiliary aids and services, meets
the essential eligibility requirements for the receipt of services or the participation in programs or
activities provided by a public entity. 42 U.S.C. § 12131(2). In turn, the term “public entity”
includes “any State or local government” as well as “any department, agency, special purpose
district, or other instrumentality of a State or States or local government.” Id. § 12131(1).




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               1.      The ADA should not be applied to on-the-street police encounters
                       until the scene is secure.

       While not decided, the better approach is that the ADA does not apply to ad hoc police

encounters or seizures. As the First Circuit has explained, the circuits are split on this issue.

Gray, 917 F.3d at 16. The Fifth Circuit has held that “Title II does not apply to an officer’s on-

the-street responses to reported disturbances or other similar incidents, whether or not those calls

involve subjects with mental disabilities, prior to the officer's securing the scene and ensuring

that there is no threat to human life.” Hainze v. Richards, 207 F.3d 795, 801 (5th Cir. 2000)

(“[l]aw enforcement personnel conducting in-the-field investigations already face the onerous

task of frequently having to identify, assess, and react to potentially life-threatening situations.”

To require them to factor in whether their actions are going to comply with the ADA in the

presence of exigent circumstances and prior to securing the scene poses an unnecessary risk.)

The Court should adopt this rule because it provides superior clarity and safety, does not require

an officer to guess at a diagnosis or ADA compliance before securing a scene, and the

reasonableness of force in the context of arrests should not be governed by 20/20 hindsight but

rather by the factors established in Graham v Connor, 490 U.S. 386, 396 (1989).

       Other circuits, however, have decided differently, holding that Title II applies without

exception to ad hoc police encounters. See, e.g., Haberle v. Troxell, 885 F.3d 170, 180 (3d Cir.

2018) (concluding that “police officers may violate the ADA when making an arrest by failing to

provide reasonable accommodations for a qualified arrestee's disability”); Bircoll v. Miami-Dade

County, 480 F.3d 1072, 1085 (11th Cir. 2007) (explaining that “Title II prohibits discrimination

by a public entity by reason of [plaintiff]'s disability” during investigations and arrests); see also

Gohier v. Enright, 186 F.3d 1216, 1221 (10th Cir. 1999) (stating that “a broad rule categorically

excluding arrests from the scope of Title II ... is not the law”). Under this approach, exigent


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circumstances attendant to a police officer’s decisions during an ad hoc encounter simply weigh

in the balance when evaluating the reasonableness of a prospective ADA accommodation. See

Haberle, 885 F.3d at 181 n.11; Bircoll, 480 F.3d at 1085-86.

       Meanwhile, the Sixth Circuit did not decide whether Title II applies in the context of

arrests because even if the plaintiff’s failure-to-accommodate claim was cognizable, the officers

in that case faced exigent circumstances while attempting to restrain and arrest the plaintiff.

Roell v. Hamilton Cnty., Ohio/Hamilton Cnty. Bd. of Cnty. Commissioners, 870 F.3d 471, 489

(6th Cir. 2017). “[A]lmost immediately after the deputies arrived, Roell swiftly approached them

brandishing a hose with a metal nozzle and a garden basket. The deputies, in other words, were

required to make a series of quick, on-the-spot judgments in a continuously evolving

environment.” Id. The court concluded that the plaintiff’s proposed accommodations – that the

officers use verbal de-escalation techniques, gather information from witnesses, and call EMS

services before engaging with her were “unreasonable … in light of the overriding public safety

concerns.” Id.

       Here, under any standard of ADA analysis, Counts 6, 7 and 8 should be dismissed

because based on the factual allegations in the Complaint, the individual police officers faced

exigent circumstances throughout their encounter with Conlon. At an armed robbery call, police

found Conlon with a knife. The officer drew his firearm and ordered Conlon to stop and drop the

knife. Conlon fled into his apartment building while keeping the knife. He continued to refuse

commands to drop the knife and instead used the knife to bang on his neighbor’s door while

calling out for her. Conlon would also intermittently waive the knife around, hold it to his throat,

and threaten suicide. After about 20 minutes, an officer finally convinced him to drop the knife

by his feet. But at that point the officers still did not have Conlon secure or control of this




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precarious situation, which reasonable officers would continue to find threatening. Captain

Dowling changed tactics and ordered the use of the less-than-lethal to attempt to secure him.

When the less-than-lethal did not deploy, Conlon picked up the knife and charged at Sergeant

Chisholm forcing Officers Scaltreto and Benes to use deadly force. Because the allegations in the

Complaint establish exigent circumstances, the ADA and Rehabilitation counts should be

dismissed.

        Prior to Gray, the First Circuit expressed skepticism of whether Title II of the ADA

applies to a police officer’s decision in the context of an arrest. It has explained that “[i]t is

questionable whether the ADA was intended to impose any requirements on police entering a

residence to take someone into protective or other custody beyond the reasonableness

requirement of the Fourth Amendment.” Buchanan, 469 F.3d at 176 n.13. Indeed, the application

of the ADA to arrests is unnecessary and only serves to increase confusion and complexity for

law enforcement officers in difficult situations, especially where the objective reasonableness

requirement of the Fourth Amendment adequately protects people with disabilities in the course

seizures.

        It appears that, if anything, Title II is meant to apply at the entity level, rather than to

individual officers. In Buchanan, as to plaintiff Buchanan’s arguments on training, this Court

ruled that “[w]hether obliged by Title II or not, the County had policies and did train officers on

the needs of the mentally ill public” and, further, that “[a]n argument that police training, which

was provided, was insufficient does not present a viable claim that Buchanan was “denied the

benefits of the services ... of a public entity” by reason of his mental illness, as required under 42

U.S.C. § 12132. Id. at 177. Here, too, the Plaintiffs’ failure to train claim fails to state a claim. In




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addition, based on the allegations in the Complaint, the deadly force was caused by Conlon

charging at an officer while wielding a knife.

       The text of the ADA indicates that Congress did not intend for Title II to apply to the

decisions of individual police officers in the context of arrests. Title II prohibits discrimination in

places of public accommodations and applies specifically to “services, programs, or activities of

a public entity” and prohibits discrimination “by any such entity.” 42 U.S.C. § 12132. “Public

Entity” is defined as “any State or local government” or “any department, agency, special

purpose district, or other instrumentality of a State or States or local government…” 42 U.S.C. §

12131. The language demonstrates that Title II was not intended to apply to the decisions of

individual officers, but rather to policies of public entities. Furthermore, it stretches the common

definitions of words to consider police seizures as “services, programs, or activities of a public

entity” under the ADA.

       A comparison of the language in Title I of the ADA, which was enacted at the same time,

lends further support to the conclusion that Title II does not apply to an individual officer’s

arrest. Title I, which applies to employment law, indicates that it applies to the actions of

individuals in stating that “no covered entity shall discriminate against a qualified individual on

the basis of disability in regard to job application procedures, the hiring, advancement, or

discharge or employees, employee compensation, job training, and other terms, conditions, and

privileges of employment.” 42 U.S.C. § 12112. The term “covered entity” is defined as an

“employer, employment agency, labor organization, or joint labor-management committee.” 42

U.S.C. § 12111. And “employer” in Title I is, in turn, defined as “a person engaged in

an industry affecting commerce who has 15 or more employees for each working day in each of

20 or more calendar weeks in the current or preceding calendar year, and any agent of such




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person….” Id. Had Congress intended for Title II to apply to the actions of individual officers in

the contest of seizures it could have used language like that in Title I and have included reference

to “agents” of public entities. But Congress did not do so, and it is generally presumed that

Congress acts intentionally and purposely in the disparate inclusion or exclusion of particular

language in one section of a statute but omits it in another section of the same Act. Dean v.

United States, 556 U.S. 568 (2009). Therefore, it appears that Congress did not intend for Title II

to apply to the decisions of individual officers during the course of seizures under the Fourth

Amendment.

                2.      A public entity should not be vicariously liable for money damages
                        under Title II of the ADA based on the conduct of a line employee.

        The First Circuit, in Gray, has explained that this question arises because, in Gebser v.

Lago Vista Independent School District, 524 U.S. 274 (1998), the Supreme Court held that a

school district could not be held liable under Title IX of the Education Amendments of 1972

“unless an official who at a minimum has authority to address the alleged discrimination and to

institute corrective measures on the [district]'s behalf has actual knowledge of discrimination.”

Id. at 290. Whether the rationale of Gebser should be extended to insulate public entities from

liability under Title II of the ADA on a theory of respondeat superior is an open question.

Compare, e.g., Duvall v. County of Kitsap, 260 F.3d 1124, 1141 (9th Cir. 2001) (stating that

“public entity is liable for the vicarious acts of its employees” under Title II), with, e.g., Liese v.

Indian River Cty. Hosp. Dist., 701 F.3d 334, 348-49 (11th Cir. 2012) (finding no respondeat

superior liability under section 504 of Rehabilitation Act in light of Gebser).4


4
 When granting summary judgment for the municipality, the First Circuit assumed without
deciding that a public entity could be held vicariously liable under Title II for a police officer’s
actions. But the court specifically noted that it did not decide the question. Gray v. Cummings,
917 F.3d at 17.

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       Although not resolved,5 vicarious liability should not be available for two reasons. See

Montgomery v. D.C., 2022 WL 1618741, at *14–15 (D.D.C. May 23, 2022). First, Gebser, 524

U.S. at 277, indicates that such a conclusion. In that case, the Supreme Court considered the

availability of vicarious liability under Title IX of the Education Amendments of 1972. The

Court rejected a broad theory of vicarious liability and instead held that “damages may not be

recovered [for an employee’s misconduct] unless an official ... who at a minimum has authority

to institute corrective measures on the district's behalf has actual notice of, and is deliberately

indifferent to, the [employee's] misconduct.” Id. The Court first noted that “the private right of

action under Title IX is judicially implied”; consequently, the Court had “a measure of latitude to

shape a sensible remedial scheme.” Id. at 284. The Court reasoned that allowing for vicarious

liability under Title IX would not be sensible in part because, at the time of Title IX's enactment,

most civil rights laws did not permit recovery of money damages, meaning it was unlikely

Congress would have implicitly authorized “unlimited recovery in damages against a funding

recipient where the recipient is unaware of discrimination in its programs.” Id. at 285–86. The

Court also noted that Title IX “condition[ed] an offer of federal funding on a promise by the

recipient not to discriminate, in what amounts essentially to a contract between the Government

and the recipient of funds.” Id. at 286. The Court's “central concern,” therefore, was ensuring the

entity receiving federal funds would have notice of its liability. See Id. at 287. Title IX's express



5
 The question of whether vicarious liability is available under Title II and Section 504, remains
unresolved. City & Cnty of S.F. v. Sheehan, 575 U.S. 600, 610 (2015). The Sixth Circuit
concluded that “[v]icarious liability is not available for claims under Title II of the Americans
with Disabilities Act.” Jones v. City of Detroit, Michigan, 20 F.4th 1117, 1118 (6th Cir. 2021),
cert. denied, 214 L. Ed. 2d 13, 143 S. Ct. 84 (2022). The Fifth Circuit has said that “a public
entity may be held vicariously liable for the acts of its employees under either” Title II or Section
504. T.O. v. Fort Bend Indep. Sch. Dist., 2 F.4th 407, 416 (5th Cir. 2021), cert. denied, 213 L.
Ed. 2d 1038, 142 S. Ct. 2811 (2022), reh'g denied, 213 L. Ed. 2d 1145 (2022).


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remedial scheme is also “predicated upon notice to an ‘appropriate person’ and an opportunity to

rectify any violation.” Id. at 290 (citation omitted). Based on this, the Court concluded “that the

implied damages remedy should be fashioned along the same lines,” Id., meaning a plaintiff

seeking damages cannot rely on a broad theory of vicarious liability under Title IX.

       Although Gebser’s focus was on Title IX of the Education Amendments, its conclusion

deserves weight in determining the availability of vicarious liability under Title II of the ADA

and Section 504 of the Rehabilitation Act. Title II incorporates “[t]he remedies, procedures, and

rights set forth in [the Rehabilitation Act,]” 42 U.S.C. § 12133, and the Rehabilitation Act

incorporates “[t]he remedies, procedures, and rights set forth in [Title VI] of the Civil Rights Act

of 1964,” 29 U.S.C. § 794a(a)(1); see also Hooper v. City of St. Paul, 2019 WL 4015443, at *12

(D. Minn. Aug. 26, 2019) (noting the borrowing between statutes).

       Therefore, “[t]he remedies available for violations of Title II of the ADA and § 505 of the

Rehabilitation Act are ‘coextensive’ with those for Title VI [and the statutes] operate like one

‘matryoshka doll’ within another.” Jones v. City of Detroit, Michigan, 20 F.4th 1117, 1119 (6th

Cir. 2021), cert. denied, 214 L. Ed. 2d 13, 143 S. Ct. 84 (2022) (citations omitted). Title IX was

also “modeled after Title VI of the Civil Rights Act of 1964,” and the two statutes are considered

“parallel.” Gebser, 524 U.S. at 286; accord Fitzgerald v. Barnstable Sch. Comm., 555 U.S. 246,

258 (2009) (“[Congress] passed Title IX with the explicit understanding that it would be

interpreted as Title VI was.”). “For obvious reasons, then, courts have consistently relied on Title

IX cases when applying Title VI (and vice versa), and on both Title IX and Title VI cases when




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applying Title II of the ADA and the [Rehabilitation Act] (and vice versa).” Hooper, 2019 WL

4015443 at *12 & n.20 (collecting cases).6

       The second reason that Title II's language suggests that the statute does not allow for

vicarious liability is that Title II prohibits public entities from discriminating against qualified

individuals on the basis of their disabilities, 42 U.S.C. § 12132, and the statute defines a “public

entity” to include “any State or local government”; “any department agency, special purpose

district, or other instrumentality of a State or States or local government”; and “the National

Railroad Passenger Corporation, and any commuter authority,” 42 U.S.C. § 12131(1). Title I of

the ADA, on the other hand, prohibits covered entities from discriminating against qualified

individuals on the basis of their disabilities, 42 U.S.C. § 12112(a), and defines “covered entity”

to include “employer[s],” 42 U.S.C. § 12111(2). “Employer” is then defined to include “a person

engaged in an industry affecting commerce [who meets certain restrictions] ... and any agent of

such person.” 42 U.S.C. § 12111(5)(A). The D.C. Circuit has noted that the “obvious purpose” of

an analogous provision in Title VII of the Civil Rights Act of 1964 “was to incorporate

respondeat superior liability into the statute.” Gary v. Long, 59 F.3d 1391, 1399 (D.C. Cir.



6
  Not all of the considerations on which the Court relied in Gebser to interpret Title IX apply
equally to Title VI, Title II, or Section 504. Montgomery, 2022 WL 1618741, at *15. For
instance, while private causes of action are implied under all four statutes, see Barnes v. Gorman,
536 U.S. 181, 184–85 (2002) (Title II and Section 504); Cannon v. Univ. of Chi., 441 U.S. 677,
703 (1979) (Title IX and Title VI), Title II differs from the rest in that it was not enacted
pursuant to the Spending Clause, Jones, 20 F.4th at 1122. But the Supreme Court has previously
rejected the theory that the ADA should be interpreted differently from the Rehabilitation Act
and Title VI and Title IX because of this distinction. Barnes, 536 U.S. at 189 n.3; Ingram v.
Kubik, 30 F.4th 1241, 1259 (11th Cir.), cert. dismissed, ––– U.S. ––––, 142 S. Ct. 2855, 213
L.Ed.2d 1082 (2022). Therefore, Gebser and the statutory borrowing between Title IX, Title VI,
Title II, and Section 504 compel the conclusion that vicarious liability is not available under Title
II or Section 504. E.g., Kubik, 30 F.4th at 1258; Jones, 20 F.4th at 1122; Arthur, 2020 WL
1821111, at *11.




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1995), quoting Miller v. Maxwell's Int'l, Inc., 991 F.2d 583, 587 (9th Cir. 1993); accord EEOC v.

AIC Sec. Investigations, Ltd., 55 F.3d 1276, 1281 (7th Cir. 1995). Therefore, Congress has

created vicarious liability in a civil rights statute but pointedly decided not to do so in Title II,

suggesting that Congress did not intend to make vicarious liability available under that title.

Montgomery, 2022 WL 1618741, at *15. In sum, because of both Gebser and Title II's text, Title

II and Section 504 do not provide for vicarious liability. Id.

                3.      The standard should be intentional discrimination or malice to
                        recover money damages. But in any event, the Plaintiffs’ Complaint
                        does not allege facts to satisfy the lower standard of deliberate
                        indifference by the officers or city officials (regarding a failure to
                        train) and therefore the ADA claim should be dismissed.

        Under either standard, the Complaint fails to state an ADA claim. Because a plaintiff

must show “intentional discrimination” on the part of the public entity to be eligible for damages

on a Title II claim, Nieves-Márquez v. Puerto Rico, 353 F.3d 108, 126 (1st Cir. 2003),

intentional discrimination should be the standard. But some uncertainty exists as to whether

“deliberate indifference” is the functional equivalent of “intentional discrimination.” Gray, 917

F.3d 17. Several circuits have held that a showing of deliberate indifference may suffice to prove

this element. See, e.g., Haberle, 885 F.3d at 181; Duvall v. Cnty. of Kitsap, 260 F.3d 1124, 1138

(9th Cir. 2001), as amended on denial of reh'g (Oct. 11, 2001). The question, however, is an open

one in the First Circuit, and the court has stated, “under Title II, non-economic damages are only

available when there is evidence ‘of economic harm or animus toward the disabled.’” Carmona-

Rivera v. Puerto Rico, 464 F.3d 14, 17 (1st Cir. 2006), quoting Nieves-Márquez, 353 F.3d at

126-27. Animus requires a higher showing of intentional discrimination than deliberate

indifference. S.H. ex. rel. Durrell v. Lower Merion Sch. Dist., 729 F.3d 248, 263 (3d Cir. 2013).




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Applying either standard to the factual allegations in the Complaint demonstrates that that ADA

claim should be dismissed.

       Here, the Complaint does not contain facts to support that the individual officers or City

officials had animus toward Conlon based on his disability. There are also no facts plead to

support that any police officer or city official acted with deliberate indifference to the risk of an

ADA violation. That is, the individuals knew there was a reasonable accommodation which they

were required to provide. The Complaint alleges that it was clear Conlon had a disability but

contains no facts that the individual officers had any particularized knowledge about the nature

and degree of his disability. There are insufficient allegations that the officers knew that Conlon

suffered from major depression, bipolar disorder, and schizoaffective disorder. Without such

particularized knowledge, they had no way of gauging what specific accommodation, if any,

might have been reasonable under the circumstances. In addition, the Plaintiffs have made

allegations about national police standards but have not alleged that the officers knew about

these standards or that they knew an ADA-protected right was likely to be jeopardized by their

actions. Nor were the officers’ actions in this case so plainly antithetic to the ADA as to obviate

the knowledge requirement. The Plaintiffs make allegations about national standards, but “falling

below national standards does not make the risk of an ADA violation so obvious as to eliminate

the knowledge requirement. Gray, 917 F.3d at 18-19. Based on Nieves-Márquez v. Puerto Rico

the standard should be intentional discrimination or malice to recover money damages, but in

any event the Plaintiffs’ Complaint does not allege facts to show either standard and the ADA

claim should be dismissed.




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       C.      Conlon did not suffer greater injuries due to his disability and officers
               accommodated Conlon based on the factual allegations in the Complaint.

       The Plaintiffs’ failure to accommodate theory under the ADA fails to state a claim

because the Complaint does not contain allegations to support that during Conlon’s seizure, the

officers failed to reasonably accommodate his disability and that caused Conlon to suffer greater

injury or indignity in that process than other arrestees.” Gray, 917 F.3d at 15; Adle v. Maine

Police Dep't, 279 F. Supp. 3d 337, 362-63 (D. Me. 2017), citing Gorman v. Bartch, 152 F.3d

907, 912–13 (8th Cir. 1998) (reversing dismissal of ADA suit alleging police had discriminated

against arrestee by transporting him to police station in vehicle unequipped to safely

accommodate wheelchairs).

       Here, the allegations in the Complaint do not support that Conlon suffered greater injury

during his seizure than other arrestees, who do not suffer from disabilities. In addition, the

officers accommodated Conlon by giving him space and speaking with him for 20 minutes and

ultimately convincing him to drop the knife. The officers then reasonably changed tactics in an

attempt to secure Conlon so that he could not hurt himself or others. When Conlon charged with

the knife, the officers were forced to use of deadly force.

       The case of Gohier v. Enright is instructive. The Tenth Circuit affirmed dismissal of an

ADA claim where a tense encounter ensued during which the officer concluded that the

individual was mentally ill. Gohier, 186 F.3d at 1221. The individual aggressively approached

and lunged at the officer, and the officer fatally shot him. The Tenth Circuit held: “Officer

Enright did not use force on Mr. Lucero because he misconceived the lawful effects of his

disability as criminal activity, inasmuch as Lucero's assaultive conduct was not lawful. Neither

did Enright fail to accommodate Lucero's disability while arresting him for “some crime

unrelated to his disability.” This threatening conduct warranted the officer’s use of force. Id.


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       Like in Gohier, the Complaint fails to state a claim because the officers did not

misperceive the lawful effects of Conlon’s disability as criminal activity, but rather Conlon’s

dangerous conduct of fleeing from police, wielding a knife, refusing orders, and charging at

police with a knife was not lawful. Furthermore, it would be impossible for the officers to know

if Conlon’s criminal conduct was as a result of or related to mental health issues or something

else such as the effects of drugs.

       Most critically, under any frame of analysis, the ADA claim should be dismissed because

the NPD officers faced exigent circumstances. Adle, 279 F. Supp. At 364–66 (regardless of

whether there is a per se rule that the ADA does not apply in exigent circumstances or whether

exigency is one factor among many to determine whether a requested accommodation is

reasonable, the threshold question is whether exigent circumstances existed). The NPD officers

faced dangerous and exigent circumstances from the time they arrived on scene until they used

deadly force to stop Conlon from charging with a knife. Waller ex rel. Est. of Hunt v. Danville,

VA, 556 F.3d 171, 175 (4th Cir. 2009) (exigency is not confined to split-second circumstances -

although the officers did not face an immediate crisis, the situation was nonetheless unstable).

       Accordingly, the Complaint fails to state a claim because the factual allegations in the

Complaint establish a situation faced by the officers that involved exigent circumstances and a

threat to human safety. See Waller, 556 F.3d at 175 (“Accommodations that might be expected

when time is of no matter become unreasonable to expect when time is of the essence.”).

                                         CONCLUSION

       For the forgoing reasons, the City of Newton respectfully requests that this Honorable

Court dismiss the Plaintiffs’ Complaint for failure to state a claim under Rule 12(b)(6).




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                                       Respectfully submitted,
                                       The Defendant,
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                                       By its attorney,


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DATED: May 5, 2023

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed through the ECF system and will therefore
be sent electronically to the registered participants as identified on the Notice of Electric Filing
(NEF) and paper copies will be sent this day to those participants indicated as non-registered
participants.


                                       /s/ Thomas R. Donohue
                                       Thomas R. Donohue, BBO# 643483
DATED: May 5, 2023




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